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                                                    U.S. Department of Justice

                                                    Office of the Inspector General




December 17, 2019

Jason Leopold
jasonleopold@gmail.com

Subject:    Freedom of Information/Privacy Act Request [20-OIG-080]

Dear Mr. Leopold:

      Your request for information relating to the above-cited subject was
received in this office on December 16, 2019.

      Your request will be handled under the provisions of the Freedom of
Information Act (5 U.S.C. §552) and the Privacy Act (5 U.S.C. §552a). It has
been assigned the following control number: 20-OIG-080. Please cite this
number in any further inquiry about this request.

       You requested that we expedite your request pursuant to 28 C.F.R. §
16.5(d)(1)(ii), which provides that a request will be given expedited treatment if
it is “made by a person primarily engaged in disseminating information” and
the responding component determines that there is “[a]n urgency to inform the
public about an actual or alleged federal government activity.” The regulations
further provide that in order to satisfy this provision a requestor must
“establish a particular urgency beyond the public’s right to know about
government activity generally.” Id. § 16.5(d)(3). However, you have not
explained the nature of this urgency beyond the public’s general right to know.
Accordingly, we are denying your request for expedition.

      I must advise you that fees may be charged for searching for records
sought at the respective clerical, professional, and/or managerial rates of
$4.00/$7.00/$10.25 per quarter hour, and for duplication of copies at the rate
of $.10 per copy. The first 100 copies and two hours of search time are not
charged, and the remaining combined charges for search and duplication must
exceed $14.00 before we will charge you any fees. Most requests do not require
any fees; however, if fees are required we will notify you beforehand.

      We will answer your request as quickly as possible. If you have further
questions, please address your inquiry to U.S. Department of Justice, Office of
the Inspector General, 950 Pennsylvania Avenue, N.W., Suite 4726,
Washington, D.C. 20530 or to check the status of your request contact us at
                                                                              Exhibit B
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(202) 616-0646.

       If you are not satisfied with my response to this request for expedition, you
may administratively appeal by writing to the Director, Office of Information Policy
(OIP), United States Department of Justice, 441 G Street NW, 6th Floor, Washington,
DC 20530-0001, or you may submit an appeal through OIP's FOIAonline portal by
creating an account on the following web site:
https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be
postmarked or electronically transmitted within 90 days of the date of my response to
your request. If you submit your appeal by mail, both the letter and the envelope
should be clearly marked “Freedom of Information Act Appeal.”

                                    Sincerely,

                                    Kim Kochurka
                                    Government Information Specialist
                                    Office of the General Counsel




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